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                         UNITED STATES DISTRICT COURT
                                                 for the
                              WESTERN DISTRICT OF OKLAHOMA


RACHEL TUDOR,

                                    Plaintiff,

v.                                                           Case No. 15-cv-324-C

SOUTHEASTERN OKLAHOMA STATE
UNIVERSITY and THE REGIONAL
UNIVERSITY SYSTEM OF OKLAHOMA

                                Defendants.


                                      NOTICE OF APPEAL

       Notice is hereby given that the Southeastern Oklahoma State University and The Regional

University System of Oklahoma, defendants in the above named case, hereby appeal to the United

State Court of Appeals for the Tenth Circuit from the final judgment entered in this action on June

6th, 2018 and the order denying defendants’ Renewed Motion for Judgment as a Matter of Law, in

the alternative, for a New Trial entered in this action on September 18th, 2018.

Date: September 28, 2018.


                                                 Respectfully submitted,

                                                                     /s/ Zach West
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                                                                    Attorney for Defendants
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                                 CERTIFICATE OF SERVICE

        I hereby certify that on the 28th day of September 2018, I filed the foregoing with the Clerk
of the Court using the CM/ECF system, which will send notification of such filing to the following:

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